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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

UNITED STATES OF AMERICA                 §
                                         §
VS.                                      §          CRIMINAL NO. 4:18-CR-00070-Y
                                         §
JUANA GABRIELA ORTIZ (3)                 §

             ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
      UNITED STATES MAGISTRATE JUDGE AND ADJUDGING DEFENDANT GUILTY

      The Court has reviewed all relevant matters of record in this case,

including especially (1) the Consent to Administration of Guilty Plea

and Allocution by United States Magistrate Judge and (2) the Report of

Action and Recommendation on Plea Before the United States Magistrate

Judge.   No objections to either have been filed within fourteen (14)

days of service in accordance with 28 U.S.C. § 636(b)(1).               Therefore,

the Court concludes that the report and recommendation of the magistrate

judge on the plea of guilty is correct, and it is hereby accepted by the

Court.   Accordingly, the Court accepts the plea of guilty, and defendant

is hereby adjudged guilty.      The defendant’s sentence will be imposed in

accordance with the Court’s sentencing scheduling order.

      SIGNED March 1, 2019.


                                             _________________________________
                                             TERRY R. MEANS
                                             UNITED STATES DISTRICT JUDGE
